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 1                                 UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3
 4    UNITED STATES OF AMERICA,               )                  Case No. 2:16-cr-00265-GMN-CWH
                                              )
 5                Plaintiff,                  )
                                              )
 6          v.                                )
                                              )
 7    ANDREW LOZANO,                          )                  ORDER
                                              )
 8                Defendant.                  )
                                              )
 9    _______________________________________ )
10           Presently before the Court is Defendant Andrew Lozano’s motion to address inadequate
11    medical care (ECF No. 405), filed on September 1, 2017. Upon review, the Court requires further
12    information regarding Defendant’s medical treatment.
13           IT IS THEREFORE ORDERED that the government shall respond to Defendant’s motion no
14    later than September 18, 2017, with an account of the Mr. Lozano’s medical condition and the
15    treatment he has been receiving while incarcerated for the present matter.
16           DATED: September 6, 2017
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18                                                          _________________________________
                                                            C.W. Hoffman, Jr.
19                                                          United States Magistrate Judge
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